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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

                                                      )
EMC CORPORATION and EMC ISRAEL                        )
DEVELOPMENT CENTER, LTD.,                             )
                                                      )
               Plaintiffs,                            )
                                                      )
       v.                                             )       Civil Action No. 12-956-GMS
                                                      )
ZERTO, INC.,                                          )
                                                      )
               Defendant.                             )


                                              ORDER
                                  ti,._
       At Wilmington this ~ day of January 2015, the court having considered the

defendant's motion, the pleadings, and the applicable law;

       IT IS HEREBY ORDERED THAT the Motion for Judgment on the Pleadings on Count

III of the First Amended Complaint (D.I. 11) is DENIED.

       The court is persuaded that the merits of the instant motion would be better addressed

through a motion for summary judgment. The parties disagree whether motions for judgment on

the pleadings pursuant to Rule 12(c) are favored by the courts, but there can be no dispute that

litigation in this case is now well underway, with discovery scheduled to close in the coming

days. (D.I. 68,   if 6.) Thus, the defendant's argument that this motion would "streamlin[e]
litigation by dispensing with needless discovery" has little weight. (D.I. 135 at 2.) Moreover,

the defendant asks the court to consider substantial evidence beyond the face of the pleadings.

With little policy incentive to do so at this late stage, the court declines to address the motion for

judgment on the pleadings. See Fed. R. Civ. P. 12(d) ("If, on a motion under Rule ... 12(c),
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matters outside the pleadings are presented to and not excluded by the court, the motion must be

treated as one for summary judgment under Rule 56.").

       Should the issue remain in dispute, the parties shall comply with the court's procedures

for seeking summary judgment, as outline in the Amended Scheduled Order. (D.I. 68, if 9.) The

court recognizes that the parties asserted a considerable number of arguments in briefing the

present motion, between the initially submitted briefs and the subsequent sur-replies. The court

recommends that the parties present a more distilled, cogent version of their positions at the

summary judgment stage.

       The plaintiffs request for an award of legal fees associated with the present motion is

also hereby DENIED.




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